80/20 and 70/30 Plans
2021 Recommendation
• Base Premiums:
   • Base premiums would not change for 2021.
   • Tobacco Attestation wellness surcharge kept flat at $60.
• Dependent Tiers:
   • Premiums for the dependent tiers would not change for 2021.
   • The “Subscriber + Family” and “Subscriber + Children” tiers are frozen at the same level since 2018.

                                             2020        2021                                                     2020        2021
            Coverage & Tiers                                                     Coverage & Tiers
                                             Rates       Rates                                                    Rates       Rates
 80/20 Employees *                                                     70/30 Employees *
 Subscriber Only                                $50.00    $50.00       Subscriber Only                               $25.00    $25.00
 Subscriber + Child(ren)                       $305.00   $305.00       Subscriber + Child(ren)                     $218.00    $218.00
 Subscriber + Spouse                           $700.00   $700.00       Subscriber + Spouse                         $590.00    $590.00
 Subscriber + Family                           $720.00   $720.00       Subscriber + Family                         $598.00    $598.00
 80/20 Retirees / Non-Med Dependents                                   70/30 Retirees/Non-Med Dependents
 Subscriber Only                                $50.00    $50.00       Subscriber Only                                $0.00     $0.00
 Subscriber + Child(ren)                       $305.00   $305.00       Subscriber + Child(ren)                     $218.00    $218.00
 Subscriber + Spouse                           $700.00   $700.00       Subscriber + Spouse                         $590.00    $590.00
 Subscriber + Family                           $720.00   $720.00       Subscriber + Family                         $598.00    $598.00
 *Assumes "Yes" completion of tobacco attestation                      70/30 Retirees/Med Dependents
                                                                       Subscriber Only                                $0.00     $0.00
                    Actuarial Value                                    Subscriber + Child(ren)                     $155.00    $155.00
 80/20 Active & Non-Medicare Plans              82.2%                  Subscriber + Spouse                         $425.00    $425.00
 70/30 Active & Non-Medicare Plans              77.7%                  Subscriber + Family                         $444.00    $444.00
 70/30 Medicare Plan                            86.6%                  *Assumes "Yes" completion of tobacco attestation




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WHAT IS NOT COVERED?
Exclusions for a specific type of service are stated along with the benefit description in "Covered Services." Exclusions
that apply to many services are listed in this section, starting with general exclusions and then the remaining exclusions
are listed in alphabetical order. To understand all of the exclusions that apply, read "Covered Services," "Summary of
Benefits" and "What Is Not Covered?" The Plan does not cover services, supplies, medications or charges for:
•   Anything specifically listed in this benefits booklet as not covered or excluded, regardless of medical
necessity.
•   Any condition, disease, ailment, injury, or diagnostic service to the extent that benefits are provided or
persons are eligible for coverage under Title XVIII of the Social Security Act of 1965, including amendments,
except as otherwise required by federal law.
•   Conditions that federal, state or local law requires to be treated in a public facility.
•   Any condition, disease, illness, or injury that occurs in the course of employment, if the member, employer
or carrier is liable or responsible for the specific medical charge (1) according to a final adjudication of the
claim under a state’s workers’ compensation laws, or (2) by an order of a state Industrial Commission or
other applicable regulatory agency approving a settlement agreement.
•   Basic life or work-related or medical disability examinations.
•   Benefits that are provided by any governmental unit except as required by law.
•   Services that are ordered by a court that are otherwise excluded from benefits under this Plan.
•   Any condition suffered as a result of any act of war or while on active or reserve military duty.
•   Services in excess of any benefit period maximum or lifetime maximum.
•   Received prior to the member’s effective date.
•   Received after the coverage termination date, regardless of when the treated condition occurred, and
regardless of whether the care is a continuation of care received prior to the termination.
•   Received from a dental or medical department maintained by or on behalf of an employer, a mutual benefit
association, labor union, trust or similar person or group.
•   Services provided at request of patient in a location other than physician’s office which are normally
provided in the physician’s office.
•   Day care services, chore services, attendant care services, homemaker services, companion care services,
foster care services.
•   Hair analysis, excluding arsenic.
•   Transportation of portable X-ray equipment and personnel to home or nursing home, transportation of
portable EKG to facility or other location.
•   Emergency response systems.
•   Alternative medicine services, which are unproven preventive or treatment modalities, also described as
alternative, integrative, or complementary medicine, whether performed by a physician or any other
provider.
In addition, the Plan does not cover the following services, supplies, medications or charges:
A
•   Acupuncture and acupressure.
•   Administrative charges billed by a provider, including, but not limited to charges for
failure to keep a scheduled visit, completion of a claim form, obtaining medical
records, late payments, shipping and handling, taxes and telephone charges.
•   Costs in excess of the allowed amount for services usually provided by one doctor,
when those services are provided by multiple doctors or medical care provided by
more than one doctor for treatment of the same condition.
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                                                          WHAT IS NOT COVERED?
                                                          Exclusions for a specific type of service are stated along with the benefit description in "Covered Services." Exclusions
                                                          that apply to many services are listed in this section, starting with general exclusions and then the remaining exclusions
                                                          are listed in alphabetical order. To understand all of the exclusions that apply, read "Covered Services," "Summary of
                                                          Benefits" and "What Is Not Covered?" The Plan does not cover services, supplies, medications or charges for:

                                                                                                                    •        Anything specifically listed in this benefits booklet as not covered or excluded, regardless of medical
                                                                                                                             necessity.
                                                                                                                    •        Any condition, disease, ailment, injury, or diagnostic service to the extent that benefits are provided or
                                                                                                                             persons are eligible for coverage under Title XVIII of the Social Security Act of 1965, including amendments,
                                                                                                                             except as otherwise required by federal law.
                                                                                                                    •        Conditions that federal, state or local law requires to be treated in a public facility.
                                                                                                                    •        Any condition, disease, illness, or injury that occurs in the course of employment, if the member, employer
                                                                                                                             or carrier is liable or responsible for the specific medical charge (1) according to a final adjudication of the
                                                                                                                             claim under a state's workers' compensation laws, or (2) by an order of a state Industrial Commission or
                                                                                                                             other applicable regulatory agency approving a settlement agreement.
                                                                                                                    •        Basic life or work-related or medical disability examinations.
                                                                                                                    •        Benefits that are provided by any governmental unit except as required by law.
                                                                                                                    •        Services that are ordered by a court that are otherwise excluded from benefits under this Plan.
                                                                                                                    •        Any condition suffered as a result of any act of war or while on active or reserve military duty.
                                                                                                                    •        Services in excess of any benefit period maximum or lifetime maximum.
                                                                                                                    •        Received prior to the member's effective date.
                                                                                                                    •        Received after the coverage termination date, regardless of when the treated condition occurred, and
                                                                                                                             regardless of whether the care is a continuation of care received prior to the termination.
                                                                                                                    •        Received from a dental or medical department maintained by or on behalf of an employer, a mutual benefit
                                                                                                                             association, labor union, trust or similar person or group.
                                                                                                                    •        Services provided at request of patient in a location other than physician's office which are normally
                                                                                                                             provided in the physician's office.
                                                                                                                    •        Day care services, chore services, attendant care services, homemaker services, companion care services,
                                                                                                                             foster care services.
                                                                                                                    •        Hair analysis, excluding arsenic.
                                                                                                                    •        Transportation of portable X-ray equipment and personnel to home or nursing home, transportation of
                                                                                                                             portable EKG to facility or other location.
                                                                                                                    •        Emergency response systems.
                                                                                                                    •        Alternative medicine services, which are unproven preventive or treatment modalities, also described as
                                                                                                                             alternative, integrative, or complementary medicine, whether performed by a physician or any other
                                                                                                                             provider.

                                                           In addition, the Plan does not cover the following services, supplies, medications or charges:

                                                                                                                                             •   Acupuncture and acupressure.
                                                                                                                                     A       •   Administrative charges billed by a provider, including, but not limited to charges for
                                                                                                                                                 failure to keep a scheduled visit, completion of a claim form, obtaining medical
                                                                                                                                                 records, late payments, shipping and handling, taxes and telephone charges.

                                                                                                                                             •   Costs in excess of the allowed amount for services usually provided by one doctor,
                                                                                                                                                 when those services are provided by multiple doctors or medical care provided by
                                                                                                                                                 more than one doctor for treatment of the same condition.




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                                                                                                                                                                                             PLAN DEF0120625
                                                                                                                               Case 1:19-cv-00272-LCB-LPA Document 137-3 Filed 11/30/21 Page 2 of 6
incurred, except in the absence of legal capacity of the member.
Clinical Trials exclusions include:
o Non-health care services, such as services provided for data collection and
analysis.
o Early feasibility, safety and pilot states of device trials
o CMS Investigational Device Exemption (IDE) Category A devices
o Investigational medications and devices and services that are not for the direct
clinical management of the patient.
•   Side effects and complications of non-covered services, except for emergency
services in the case of an emergency.
•   Convenience items such as, but not limited to, devices and equipment used for
environmental control, urinary incontinence devices (including bed wetting devices)
and equipment, heating pads, hot water bottles, ice packs and personal hygiene
items.
•   Cosmetic services, which include the removal of excess skin from the abdomen,
arms or thighs, skin tag excisions, skin tone enhancements, cryotherapy or chemical
exfoliation for active acne scarring, superficial dermabrasion, injection of dermal
fillers, services for hair transplants, electrolysis and surgery for psychological or
emotional reasons, except as specifically covered by the Plan.
•   Services received either before or after the coverage period of the Plan, regardless
of when the treated condition occurred, and regardless of whether the care is a
continuation of care received prior to the termination.
•   Custodial care designed essentially to assist an individual with activities of daily
living, with or without routine nursing care and the supervisory care of a doctor.
While some skilled nursing services may be provided, the patient does not require
continuing skill services 24 hours daily. The individual is not under specific medical,
surgical, or psychiatric treatment to reduce a physical or mental disability to the
extent necessary to enable the patient to live outside either the institution or the
home setting with substantial assistance and supervision, nor is there reasonable
likelihood that the disability will be reduced to that level even with treatment.
Custodial care includes, but is not limited to, help in walking, bathing, dressing,
feeding, preparation of special diets and supervision over medications that could
otherwise be self-administered. Such services and supplies are custodial as
determined by the Plan without regard to the place of service or the provider
prescribing or providing the services.
•   Camisoles, or other clothing, post-mastectomy.
•   Communication boards or alternative communication devices.
•   Contraception for males
D
•   Dental services
•   provided in a hospital, except as specifically covered by the Plan.
•   Treatment for the following conditions:
_ Injury related to chewing or biting.
_ Preventive dental care, diagnosis or treatment of or related to
teeth or gums.
•   Periodontal disease or cavities and disease due to infection or tumor.
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                                                                                                        incurred, except in the absence of legal capacity of the member.

                                                                                                        Clinical Trials exclusions include:
                                                                                                        o Non-health care services, such as services provided for data collection and
                                                                                                             analysis.
                                                                                                        o    Early feasibility, safety and pilot states of device trials
                                                                                                        o    CMS lnvestigational Device Exemption (IDE) Category A devices
                                                                                                        o    lnvestigational medications and devices and services that are not for the direct
                                                                                                             clinical management of the patient.
                                                                                                    •   Side effects and complications of non-covered services, except for emergency
                                                                                                        services in the case of an emergency.

                                                                                                    •   Convenience items such as, but not limited to, devices and equipment used for
                                                                                                        environmental control, urinary incontinence devices (including bed wetting devices)
                                                                                                        and equipment, heating pads, hot water bottles, ice packs and personal hygiene
                                                                                                        items.

                                                                                                    •   Cosmetic services, which include the removal of excess skin from the abdomen,
                                                                                                        arms or thighs, skin tag excisions, skin tone enhancements, cryotherapy or chemical
                                                                                                        exfoliation for active acne scarring, superficial dermabrasion, injection of dermal
                                                                                                        fillers, services for hair transplants, electrolysis and surgery for psychological or
                                                                                                        emotional reasons, except as specifically covered by the Plan.

                                                                                                    •   Services received either before or after the coverage period of the Plan, regardless
                                                                                                        of when the treated condition occurred, and regardless of whether the care is a
                                                                                                        continuation of care received prior to the termination.

                                                                                                    •   Custodial care designed essentially to assist an individual with activities of daily
                                                                                                        living, with or without routine nursing care and the supervisory care of a doctor.
                                                                                                        While some skilled nursing services may be provided, the patient does not require
                                                                                                        continuing skill services 24 hours daily. The individual is not under specific medical,
                                                                                                        surgical, or psychiatric treatment to reduce a physical or mental disability to the
                                                                                                        extent necessary to enable the patient to live outside either the institution or the
                                                                                                        home setting with substantial assistance and supervision, nor is there reasonable
                                                                                                        likelihood that the disability will be reduced to that level even with treatment.
                                                                                                        Custodial care includes, but is not limited to, help in walking, bathing, dressing,
                                                                                                        feeding, preparation of special diets and supervision over medications that could
                                                                                                        otherwise be self-administered. Such services and supplies are custodial as
                                                                                                        determined by the Plan without regard to the place of service or the provider
                                                                                                        prescribing or providing the services.

                                                                                                    •   Camisoles, or other clothing, post-mastectomy.

                                                                                                    •   Communication boards or alternative communication devices.

                                                                                                    •   Contraception for males

                                                                                                    •   Dental services
                                                                                               D               •   provided in a hospital, except as specifically covered by the Plan.

                                                                                                               •   Treatment for the following conditions:
                                                                                                                        ■ Injury related to chewing or biting.
                                                                                                                        ■ Preventive dental care, diagnosis or treatment of or related to
                                                                                                                          teeth or gums.
                                                                                                               •   Periodontal disease or cavities and disease due to infection or tumor.


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                                                                                                                                                         PLAN DEF0120627
                                                                                           Case 1:19-cv-00272-LCB-LPA Document 137-3 Filed 11/30/21 Page 3 of 6
_   Primary treatment of a psychiatric disorder in a residential treatment center
(RTC) unless the RTC is licensed as a psychiatric RTC.
_   Primary treatment of a substance abuse or substance abuse disorder in a
residential treatment center (RTC) unless the RTC is licensed as a substance
abuse or substance abuse RTC.
_   Services by providers not currently licensed in the state in which services are
provided.
_   Psychotherapy as part of artificial means of conception.
_   Psychological assessment and psychotherapy treatment in conjunction with
proposed gender transformation.
_   Psychological testing for those persons with a substance abuse diagnosis
until 30 consecutive days of abstinence are obtained.
_   Therapeutic boarding schools as a psychiatric residential treatment center
(RTC) unless the program is licensed for psychiatric RTC in the state in which
services are provided, has registered nurses who are present on-site 24-
hours per day, and holds current national accreditation by a national health
care accrediting body approved by the Mental Health Case Manager.
_   Therapeutic boarding schools as a substance abuse or substance abuse
residential treatment center (RTC) unless the program is licensed as a
substance abuse RTC in the state in which services are provided and has
licensed supervision of all residents 24 hours per day, seven days per week.
_   Wilderness camps, wilderness “step-down” components of a residential
program, and stand-alone outdoor treatment programs or outdoor “step-
down” components of a residential program are not covered as a psychiatric
RTC unless the program is licensed for psychiatric residential treatment in
the state in which services are provided, has registered nurses who are
present on-site 24-hours per day, and holds current national accreditation by
a national health care accrediting body approved by the Mental Health Case
Manager.
_   Wilderness camps and stand-along outdoor treatment programs are not
covered as substance abuse or substance abuse RTC programs.
_   Academic education during residential treatment when charged separately.
_   Administrative psychiatric services (e.g., expert testimony, report writing,
medical records review and maintenance, case management or case
coordination, chart review, etc.)
•   Consultation with a mental health professional for adjudication of marital,
child support, and custody cases.
•   Evaluations, consultations, testing or therapy for educational, professional
training, or for investigation purposes relating to employment, insurance,
judicial or administrative proceedings.
•   Training analysis.
•   Treatment for personal or professional growth, development, training or
professional certification.
•   Aversive Treatment.
•   Treatment programs based solely on the 12-step Model.
•   Erhard Seminar Training (EST) or similar motivational services.
•   Bioenergetic, carbon dioxide, confrontational, hyperbaric or normobaric
oxygen, marathon, megavitamin, orthomolecular, primal, rebirthing, or sleep
therapies.
•   Expressive therapies (art, poetry, movement, psychodrama), guided imagery,
or stress and relaxation therapy when billed separately.
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                                                                                                   ■   Primary treatment of a psychiatric disorder in a residential treatment center
                                                                                                       (RTC) unless the RTC is licensed as a psychiatric RTC.
                                                                                                   ■   Primary treatment of a substance abuse or substance abuse disorder in a
                                                                                                       residential treatment center (RTC) unless the RTC is licensed as a substance
                                                                                                       abuse or substance abuse RTC.
                                                                                                   ■   Services by providers not currently licensed in the state in which services are
                                                                                                       provided.
                                                                                                   ■   Psychotherapy as part of artificial means of conception.
                                                                                                   ■   Psychological assessment and psychotherapy treatment in conjunction with
                                                                                                       proposed gender transformation.
                                                                                                   ■   Psychological testing for those persons with a substance abuse diagnosis
                                                                                                       until 30 consecutive days of abstinence are obtained.
                                                                                                   ■   Therapeutic boarding schools as a psychiatric residential treatment center
                                                                                                       (RTC) unless the program is licensed for psychiatric RTC in the state in which
                                                                                                       services are provided, has registered nurses who are present on-site 24-
                                                                                                       hours per day, and holds current national accreditation by a national health
                                                                                                       care accrediting body approved by the Mental Health Case Manager.
                                                                                                   ■   Therapeutic boarding schools as a substance abuse or substance abuse
                                                                                                       residential treatment center (RTC) unless the program is licensed as a
                                                                                                       substance abuse RTC in the state in which services are provided and has
                                                                                                       licensed supervision of all residents 24 hours per day, seven days per week.
                                                                                                   ■   Wilderness camps, wilderness "step-down" components of a residential
                                                                                                       program, and stand-alone outdoor treatment programs or outdoor "step-
                                                                                                       down" components of a residential program are not covered as a psychiatric
                                                                                                       RTC unless the program is licensed for psychiatric residential treatment in
                                                                                                       the state in which services are provided, has registered nurses who are
                                                                                                       present on-site 24-hours per day, and holds current national accreditation by
                                                                                                       a national health care accrediting body approved by the Mental Health Case
                                                                                                       Manager.
                                                                                                   ■   Wilderness camps and stand-along outdoor treatment programs are not
                                                                                                       covered as substance abuse or substance abuse RTC programs.
                                                                                                   ■   Academic education during residential treatment when charged separately.
                                                                                                   ■   Administrative psychiatric services (e.g., expert testimony, report writing,
                                                                                                       medical records review and maintenance, case management or case
                                                                                                       coordination, chart review, etc.)
                                                                                                   •   Consultation with a mental health professional for adjudication of marital,
                                                                                                       child support, and custody cases.
                                                                                                   •   Evaluations, consultations, testing or therapy for educational, professional
                                                                                                       training, or for investigation purposes relating to employment, insurance,
                                                                                                       judicial or administrative proceedings.
                                                                                                   •   Training analysis.
                                                                                                   •   Treatment for personal or professional growth, development, training or
                                                                                                       professional certification.
                                                                                                   •   Aversive Treatment.
                                                                                                   •   Treatment programs based solely on the 12-step Model.
                                                                                                   •   Erhard Seminar Training (EST) or similar motivational services.
                                                                                                   •   Bioenergetic, carbon dioxide, confrontational, hyperbaric or normobaric
                                                                                                       oxygen, marathon, megavitamin, orthomolecular, primal, rebirthing, or sleep
                                                                                                       therapies.
                                                                                                   •   Expressive therapies (art, poetry, movement, psychodrama), guided imagery,
                                                                                                       or stress and relaxation therapy when billed separately.

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                                                                                                                                                    PLAN DEF0120632
                                                                                      Case 1:19-cv-00272-LCB-LPA Document 137-3 Filed 11/30/21 Page 4 of 6
_   Occlusal (bite) adjustments.
_   Extractions.
•   The following types of therapy:
_   Applied Behavior Analysis (ABA) therapy except as specifically identified
by the Plan.
_   Music therapy, recreational or activity therapy, and all types of animal
therapy. Remedial reading and all forms of special education and
supplies or equipment used similarly, except as specifically covered by
the Plan.
_   Massage therapy.
_   Alternative therapy.
_   Hypothermia therapy.
_   Cognitive therapy.
_   Speech therapy for stammering, stuttering, or developmental delay.
_   Treatment of speech, language, voice, communication and/or auditory
processing disorder.
_   Pulmonary rehabilitation group sessions.
_   Peripheral arterial disease rehabilitation.
_   Community or work integration training, work hardening or conditioning.
•   Thermography or thermograph examination.
•   Transplant exclusions include:
• The purchase price of the organ or tissue if any organ or tissue is sold
rather than donated to the recipient member.
• The procurement of organs, tissue, bone marrow or peripheral blood
stem cells or any other donor services if the recipient is not a member.
• Transplants, including high dose chemotherapy, considered experimental
or investigational.
• Services for or related to the transplantation of animal or artificial organs
or tissues.
•   Travel, whether or not recommended or prescribed by a doctor or other licensed
health care professional, except as specifically covered by the Plan.
•   Treatment or studies leading to or in connection with sex changes or
modifications and related care.
V
•   The following vision services:
_   Radial keratotomy and other refractive eye surgery, and related services to
correct vision except for surgical correction of an eye injury. Also excluded
are premium intraocular lenses or the services related to the insertion of
premium lenses beyond what is required for insertion of conventional
intraocular lenses, which are small, lightweight, clear disks that replace the
distance-focusing power of the eye’s natural crystalline lens.
_   Routine eye examination services except as specifically covered by the Plan.
_   Eyeglasses or contact lenses, except as specifically covered in “Prosthetic
appliances.”
_   Orthoptics, vision training, and low vision aids.
•   For over-the-counter and non-federal legend Vitamins, food supplements or
replacements, nutritional or dietary supplements, formulas, or special foods of any
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                                                                                                              ■   Occlusal (bite) adjustments.
                                                                                                              ■   Extractions.

                                                                                                   •     The following types of therapy:

                                                                                                              ■   Applied Behavior Analysis (ABA) therapy except as specifically identified
                                                                                                                  by the Plan.
                                                                                                              ■   Music therapy, recreational or activity therapy, and all types of animal
                                                                                                                  therapy. Remedial reading and all forms of special education and
                                                                                                                  supplies or equipment used similarly, except as specifically covered by
                                                                                                                  the Plan.
                                                                                                              ■   Massage therapy.
                                                                                                              ■   Alternative therapy.
                                                                                                              ■   Hypothermia therapy.
                                                                                                              ■   Cognitive therapy.
                                                                                                              ■   Speech therapy for stammering, stuttering, or developmental delay.
                                                                                                              ■   Treatment of speech, language, voice, communication and/or auditory
                                                                                                                  processing disorder.
                                                                                                              ■   Pulmonary rehabilitation group sessions.
                                                                                                              ■   Peripheral arterial disease rehabilitation.
                                                                                                              ■   Community or work integration training, work hardening or conditioning.

                                                                                                   •     Thermography or thermograph examination.
                                                                                                   •     Transplant exclusions include:
                                                                                                              •   The purchase price of the organ or tissue if any organ or tissue is sold
                                                                                                                  rather than donated to the recipient member.
                                                                                                              •   The procurement of organs, tissue, bone marrow or peripheral blood
                                                                                                                  stem cells or any other donor services if the recipient is not a member.
                                                                                                              •   Transplants, including high dose chemotherapy, considered experimental
                                                                                                                  or investigational.
                                                                                                              •   Services for or related to the transplantation of animal or artificial organs
                                                                                                                  or tissues.

                                                                                                   •     Travel, whether or not recommended or prescribed by a doctor or other licensed
                                                                                                         health care professional, except as specifically covered by the Plan.

                                                                                                   •     Treatment or studies leading to or in connection with sex changes or
                                                                                                          modifications and related care.

                                                                                                   •     The following vision services:
                                                                                          V               ■   Radial keratotomy and other refractive eye surgery, and related services to
                                                                                                              correct vision except for surgical correction of an eye injury. Also excluded
                                                                                                              are premium intraocular lenses or the services related to the insertion of
                                                                                                              premium lenses beyond what is required for insertion of conventional
                                                                                                              intraocular lenses, which are small, lightweight, clear disks that replace the
                                                                                                              distance-focusing power of the eye's natural crystalline lens.
                                                                                                          ■   Routine eye examination services except as specifically covered by the Plan.
                                                                                                          ■   Eyeglasses or contact lenses, except as specifically covered in "Prosthetic
                                                                                                              appliances."
                                                                                                          ■   Orthoptics, vision training, and low vision aids.

                                                                                               •       For over-the-counter and non-federal legend Vitamins, food supplements or
                                                                                                       replacements, nutritional or dietary supplements, formulas, or special foods of any

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                                                                                                                                                    PLAN DEF0120636
                                                                                      Case 1:19-cv-00272-LCB-LPA Document 137-3 Filed 11/30/21 Page 5 of 6
• And except as specifically stated as covered:
_ Dental implants or root canals
_ Dentures
_ Dental appliances except when medically necessary for the
treatment of temporomandibular joint disease or obstructive
sleep apnea
_ Orthodontic braces or devices.
_ Palatal expanders
_ Removal of teeth and intrabony cysts.
_ Procedures performed for the preparation of the mouth for
dentures.
_ Crowns, bridges, dentures or in-mouth appliances.
•   Evaluation and treatment of developmental dysfunction and/or learning disability.
•   Diabetes related services including:
•   Diabetic shoes, including accessories, fittings, and associated services and
supplies.
•   Glasses.
•   The following drugs or medications:
_   Injections by a health care professional of injectable prescription medications
which can be self-administered, unless medical supervision is required.
_   Medications associated with conception by artificial means.
_   For prescribed sexual dysfunction medications.
_   Take home medications furnished by a hospital or non-hospital facility.
_   Experimental medication or any medication or device not approved by the
Food and Drug Administration (FDA) for the applicable diagnosis or
treatment. However, this exclusion does not apply to prescription
medications used in covered phases I, II, III and IV clinical trials, or
medications approved by the FDA for treatment of cancer, if prescribed for
the treatment of any type of cancer for which the medication has been
approved as effective and accepted in any one of the following nationally
recognized medication reference guides:
• The American Medical Association Drug Evaluations;
• The American Hospital Formulary Service Drug Information;
• The United States Pharmacopoeia Drug Information;
• The National Comprehensive Cancer Network Drugs & Biologics
Compendium;
• The Thomson Micromedex DrugDex;
• The Elsevier Gold Standard’s Clinical Pharmacology; or
• Any other authoritative compendia as recognized periodically by the
United States Secretary of Health and Human Services.
•   Durable Medical Equipment including:
_   Appliances or devices that serve no medical purpose or that are
primarily for comfort or convenience.
_   Repair or replacement of equipment due to abuse or desire for new
equipment.
_   Heel or elbow protectors.
_   Batteries, except as required for operation of medically necessary
equipment prescribed by a provider.
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                                                                                                                •       And except as specifically stated as covered:
                                                                                                                            ■   Dental implants or root canals
                                                                                                                            ■   Dentures
                                                                                                                            ■   Dental appliances except when medically necessary for the
                                                                                                                                treatment of temporomandibular joint disease or obstructive
                                                                                                                                sleep apnea
                                                                                                                            ■   Orthodontic braces or devices.
                                                                                                                            ■   Palatal expanders
                                                                                                                            ■   Removal of teeth and intra bony cysts.
                                                                                                                            ■   Procedures performed for the preparation of the mouth for
                                                                                                                                dentures.
                                                                                                                            ■   Crowns, bridges, dentures or in-mouth appliances.
                                                                                                 •       Evaluation and treatment of developmental dysfunction and/or learning disability.

                                                                                                 •       Diabetes related services including:

                                                                                                     •      Diabetic shoes, including accessories, fittings, and associated services and
                                                                                                            supplies.
                                                                                                     •      Glasses.

                                                                                                 •       The following drugs or medications:

                                                                                                            ■   Injections by a health care professional of injectable prescription medications
                                                                                                                which can be self-administered, unless medical supervision is required.
                                                                                                            ■   Medications associated with conception by artificial means.
                                                                                                            ■   For prescribed sexual dysfunction medications.
                                                                                                            ■   Take home medications furnished by a hospital or non-hospital facility.
                                                                                                            ■   Experimental medication or any medication or device not approved by the
                                                                                                                Food and Drug Administration (FDA) for the applicable diagnosis or
                                                                                                                treatment. However, this exclusion does not apply to prescription
                                                                                                                medications used in covered phases I, II, Ill and IV clinical trials, or
                                                                                                                medications approved by the FDA for treatment of cancer, if prescribed for
                                                                                                                the treatment of any type of cancer for which the medication has been
                                                                                                                approved as effective and accepted in any one of the following nationally
                                                                                                                recognized medication reference guides:
                                                                                                                •   The American Medical Association Drug Evaluations;
                                                                                                                •   The American Hospital Formulary Service Drug Information;
                                                                                                                •   The United States Pharmacopoeia Drug Information;
                                                                                                                •   The National Comprehensive Cancer Network Drugs & Biologics
                                                                                                                    Compendium;
                                                                                                                •   The Thomson Micromedex DrugDex;
                                                                                                                •   The Elsevier Gold Standard's Clinical Pharmacology; or
                                                                                                                •   Any other authoritative compendia as recognized periodically by the
                                                                                                                    United States Secretary of Health and Human Services.

                                                                                                 •       Durable Medical Equipment including:

                                                                                                                    ■    Appliances or devices that serve no medical purpose or that are
                                                                                                                         primarily for comfort or convenience.
                                                                                                                    ■    Repair or replacement of equipment due to abuse or desire for new
                                                                                                                         equipment.
                                                                                                                    ■    Heel or elbow protectors.
                                                                                                                    ■    Batteries, except as required for operation of medically necessary
                                                                                                                         equipment prescribed by a provider.
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